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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION


  FUSION ELITE ALL STARS, et
  al.,

  Plaintiffs,
                                                  20-2600-SHL-tmp
  v.

  VARSITY BRANDS, LLC, et al.,

  Defendants.


  JONES, et al.,

  Plaintiffs,

  v.                                              20-2892-SHL-tmp

  BAIN CAPITAL PRIVATE EQUITY,
  et al.,

  Defendants.


  AMERICAN SPIRIT AND CHEER
  ESSENTIALS, INC., et al.,

  Plaintiffs,
                                                  20-2782-SHL-tmp
  v.

  VARSITY BRANDS, LLC, et al.,

  Defendants.


    ORDER SETTING HEARING REGARDING PLAINTIFFS’ JOINT MOTION TO
   FACILITATE COORDINATION OF DEPOSITIONS IN THE RELATED ACTIONS
 ________________________________________________________________
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        Before the court is all plaintiffs’ Joint Motion to Facilitate

 Coordination of Depositions in the Related Actions, filed on

 October 19, 2021. (20-2600 ECF No. 155.) The actions at issue are

 class action antitrust lawsuits alleging that the defendants have

 created      an    anticompetitive        monopoly    over    competitive       cheer

 competitions, cheerleading apparel, and numerous other markets in

 the    United     States.    Due   to    the   related   claims,   the     presiding

 district      judge     entered     an     order    establishing     a     discovery

 coordination committee among all plaintiffs in order to minimize

 duplicative discovery requests, questions, and motion practice.

 (20-2600 ECF No. 93.) The present joint motion seeks additional

 deposition time of deponents who are noticed in more than one of

 the related actions. The defendants jointly responded on November

 2, 2021, opposing the motion in full. (20-2600 ECF No. 159.)

        The undersigned hereby sets a hearing on this motion for

 Friday, November 12, 2021, at 11:00 a.m. Central Standard Time.

 This    hearing       will   be    conducted       remotely   over       Zoom   Video

 Conferencing, and an invitation to the hearing will be emailed to

 the parties closer to the hearing date. The parties should take

 care    to   coordinate       amongst     themselves,     designate       presenting

 counsel, and avoid duplication of arguments.

              IT IS SO ORDERED,

                                          s/ Tu M. Pham                    _________
                                          TU M. PHAM


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                                   Chief United States Magistrate Judge

                                   November 5, 2021___________________
                                   Date




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